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 8   behalf of all others similarly situated
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14   Attorneys for Defendant
     Papa, Inc.
15
                                  UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
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18
      Jennifer Pardo, Evangeline Matthews,           Case No. 3:21-cv-06326-RS
19    individually and on behalf of all others
      similarly situated,                            PARTIES’ JOINT REQUEST FOR
20                                                   REMOTE APPEARANCE; [PROPOSED]
                         Plaintiffs,                 ORDER
21
              vs.                                    Hearing Information:
22                                                   Date: January 9, 2025
23                                                   Time: 1:30 p.m.
                                                     Dept: Courtroom 3, 17th Floor
24    Papa, Inc.,
                                                     TAC Filed: September 14, 2022
25                       Defendant.                  Trial Date: None Set
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                         PARTIES’ JOINT REQUEST FOR REMOTE APPEARANCE
 1   TO THE HONORABLE COURT AND ALL PARTIES:
 2            Plaintiffs Jennifer Pardo and Evangeline Matthews (“Plaintiffs”) and Defendant Papa
 3   Inc. (“Defendant”) hereby request permission from the Court for Plaintiffs’ counsel, Jonathan
 4   M. Lebe and Zachary T. Gershman and Defendant’s counsel to appear remotely via Zoom or
 5   video conference for the hearing currently scheduled for January 9, 2025, on Plaintiffs’
 6   Motion Certify Class (Dkt. 31).
 7            WHEREAS, Plainitffs’ Motion to Certify Class (Dkt. 31) has been fully briefed by the
 8   Parties and is scheduled to be heard on January 9, 2025, at 1:30 p.m. in the above captioned
 9   Court;
10            WHEREAS, Plaintiff’s counsel is located in Los Angeles, California and Defendant’s
11   counsel are located in San Diego, California and would be required to travel to San Francisco,
12   California for the hearing;
13            WHEREAS, the Parties agree that appearing remotely by videoconference will not
14   prejudice Plaintiff or Defendant and will preserve the Parties’ resources, if the Court is
15   amenable;
16            THEREFORE, the Parties respectfully request leave of this Court to appear remotely
17   via video conference for the Hearing.
18            Accordingly, Plaintiffs respectfully request that the Court grant this remote appearance
19   request for the January 9, 2025, hearing in this matter.
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21   DATED: December 27, 2024                     LEBE LAW, APLC
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23
                                                           /s/ Zachary T. Gershman
                                                  By: ______________________________
24                                                             Jonathan M. Lebe
                                                            Zachary T. Gershman
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                                                                Rayne A. Brown
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                                                    Attorneys for Plaintiffs Jennifer Pardo and
27                                                  Evangeline Matthews, individually and on
                                                       behalf of all other similarly situated
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                          PARTIES’ JOINT REQUEST FOR REMOTE APPEARANCE
     Dated: December 27, 2024                GREENBERG TRAURIG, LLP
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 2
                                             By:            /s/ Ellen M. Bronchetti
 3                                                              Ellen M. Bronchetti
                                                                  Tayanah Miller
 4                                                      Attorneys for Defendant Papa, Inc.
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 8                                         ATTESTATION
 9          Pursuant to Local Rule 5-1(i)(3), I, Diana Lopez, attest that concurrence in filing this
10   document has been obtained from the other signatory.
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12
     Dated: December 27, 2024                 By: /s/ Diana Lopez
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                        PARTIES’ JOINT REQUEST FOR REMOTE APPEARANCE
                                       [PROPOSED] ORDER
 1
            IT IS HEREBY ORDERED that for good cause, counsel for Plaintiffs and Defendant may
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     appear for the January 9, 2025, at 1:30 p.m. hearing for the Motion to Certify Class remotely
 3
 4   via remote teleconferencing software.
            IT IS SO ORDERED.
 5
     Dated:_________________
 6                                                     ______________________________
 7                                                     HON. RICHARD SEEBORG
                                                       DISTRICT COURT JUDGE
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                                        [PROPOSED] ORDER
